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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                         )   Case No. 1:12-cr-00196-BLW
                                                   )
                Plaintiff,                         )
                                                   )   ORDER
 vs.                                               )
                                                   )
 SHANNON L. STEWART, and                           )
 MICHAEL P. DUSCHKA,                               )
                                                   )
                Defendants.                        )
                                                   )

         The Court, after having reviewed the Government’s Application for Protective

Order (DKT. 45), and good cause appearing therefore,

         IT IS HEREBY ORDERED that the Application for Protective Order (Dkt. 45)

is GRANTED.

       IT IS FURTHER ORDERED that counsel for defendant Michael Duschka is

prohibited from providing or disseminating discovery/Jencks Act materials, or copies

thereof, to any person other than his client, employees, investigators, or agents.

       IT IS FURTHER ORDERED that counsel for defendant Michael Duschka, counsel’s

employees, investigators, or agents may show defendant Duschka discovery/Jencks Act

materials but counsel and his employees, investigators, or agents are prohibited from




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leaving copies of such discovery/Jencks Act material with defendant Duschka or

providing such material to any other persons.

    IT IS FURTHER ORDERED that counsel for defendant Duschka may ask the Court

to revisit this Order if he feels that it is impeding his ability to adequately represent his

client.



                                                    DATED: February 25, 2013


                                                    _________________________
                                                    B. Lynn Winmill
                                                    Chief Judge
                                                    United States District Court




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